           Case 23-30944               Doc 5          Filed 12/06/23             Entered 12/06/23 13:54:22            Page 1 of 2

Information to identify the case:
Debtor 1              Heather Ann O'Brien Treciokas                                       Social Security number or ITIN      xxx−xx−6313
                      First Name   Middle Name     Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                  Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                          EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Connecticut
                                                                                          Date case filed for chapter 7 12/6/23
Case number:          23−30944 amn


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             10/1/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov/).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Heather Ann O'Brien Treciokas

2.      All other names used in the aka Heather Ann Treciokas, aka Heather Ann
        last 8 years                O'Brien−Treciokas

3.     Address                               4 Marlson Rd
                                             Meriden, CT 06450−4745

4.     Debtor's attorney                     Michael J. Habib                                       Contact phone 860−249−7071
                                             Willcutts & Habib LLC
       Name and address                      100 Pearl St.                                          Email: mike@inzitarilawoffice.com
                                             Ste Flr. 14
                                             Hartford, CT 06103−4500

5.     Bankruptcy trustee                    Andrea M. O'Connor                                     Contact phone 413−486−1110
                                             Fitzgerald Law, PC
       Name and address                      46 Center Square
                                             East Longmeadow, MA 01028
                                                                                                               For more information, see page 2 >
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Debtor Heather Ann O'Brien Treciokas                                                                                       Case number 23−30944

6. Bankruptcy clerk's office                    157 Church Street                                            Hours open: 9:00 a.m. − 4:00 p.m.
                                                18th Floor                                                   Monday − Friday
    Documents in this case may be filed at this New Haven, CT 06510                                          Contact phone: 203−773−2009
    address. You may inspect all records filed
    in this case at this office or online at                                                                 Date: December 6, 2023
    https://pacer.uscourts.gov.


7. Meeting of creditors                          January 8, 2024 at 09:30 AM                                 Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              Zoom video meeting. Go to
    questioned under oath. In a joint case,      later date.
    both spouses must attend. Creditors may                                                                  Zoom.us/join, Enter Meeting ID
    attend, but are not required to do so.       If so, date will be on the court docket.                    964 083 5190, and Passcode
                                                                                                             6504884577, OR call 1 413 440
                                                                                                             2533

                                                                                                             For additional meeting information
                                                                                                             go to
                                                                                                             www.justice.gov/ust/moc

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                     File by the deadline to object to discharge or to           Filing deadline: March 8, 2024
                                                 challenge whether certain debts are dischargeable:
    The bankruptcy clerk's office must receive
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                 that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                 receive the objection by the deadline to object to exemptions in line 9.
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